Case 2:24-cv-14336-JEM Document 42-5 Entered on FLSD Docket 02/22/2025 Page 1 of 3




                                  EXHIBIT E
2/17/25,Case
        1:27 PM2:24-cv-14336-JEM                     Document    42-5
                                                        Christopher        Entered
                                                                    F. Lanza, P.A. Mail -on
                                                                                         YourFLSD     Docket
                                                                                              "Meet and          02/22/2025
                                                                                                        Confer" letter of 2/12/25 Page 2 of 3


                                                                                                                     Christopher Lanza <cfl@lanzalaw.com>



  Your "Meet and Confer" letter of 2/12/25
  Richard Kibbey <kibbeylegal@gmail.com>                                                                                             Mon, Feb 17, 2025 at 1:13 PM
  To: Christopher Lanza <cfl@lanzalaw.com>
  Cc: Jason Wandner <jason@wandnerlaw.com>

    Mr. Lanza-
     I have reviewed your 2/12/25 letter and will address your concerns:

    First you claim that our witness list disclosure is untimely and has "materially prejudiced" your case- yet you offer no
    specifics on either point. If you have been so "prejudiced" please advise what kind of specific answer would rectify such
    harm.
      We believe the Judge's scheduling Order sets the deadlines on Discovery and will continue to abide by it.
      Our expert witness summaries are detailed, complete, and conform to the Rule. We offer nothing more.
      WhatsApp discussions: I have asked my client to review your specific requests on those and expect answers by the
    end of this week. We will forward that material to you when we receive it.
      Interrogatory responses: Answers to Questions 6,10,11,13,14,15, 23 and 24 are complete to the best of our clients
    knowledge. We offer nothing more.
      "Empty Folders" : I have asked for more information on this issue and should have a more detailed response,
    hopefully by the end of the week.
     Sworn signature: You are correct! Our oversight. We will have an attestation and signed page for you by the end of the
    week.
      Answers needed for both Parties (Plaintiffs): Mr. Porter did answer, and sign the interrogatories for both
    Plaintiffs- please see heading on our Answer: "Plaintiffs' Answer.

       Your letter also references information we provided to you on Jan 27 via the DropBox link.
    Please confirm who reviewed that information before you filed your motion for "Terminating
    Sanctions"? We are requesting the name(s) of all individuals who assisted you in preparing or filing that
    motion including any attorney(s) who reviewed your motion before it was filed.
    We are requesting your answer by Monday Feb 24 2025.




    Regards,




    Richard Kibbey, Esq.
    Law Office of Richard D. Kibbey, P.A.
    RichardKibbey.com

    416 SW Camden Avenue
    Stuart, FL 34994
    ph: (772)286-0023

    _________________________________________________________________
    This e-mail and any document(s) accompanying this transmittal contains information from the Law Office of Richard D. Kibbey, P.A. that is confidential and/or
    legally privileged. This information is intended only for the use of the individual or entity named above. If you are not the intended recipient, you are hereby
    notified that any disclosure, copying, distribution, or taking of any action in reliance upon the contents of this transmittal information is strictly prohibited and the
    document(s) should be returned to this firm immediately. If you are the intended recipient, you are hereby notified that any disclosure, copying, distribution, or
    taking of any action in reliance upon the contents of this transmittal information is strictly prohibited and the document(s) should be returned to this firm
    immediately, unless prior permission and authorization for your use is authorized by the Law Office of Richard D. Kibbey, P.A.



https://mail.google.com/mail/u/0/?ik=3a2dad4283&view=pt&search=all&permmsgid=msg-f:1824329318481312146&simpl=msg-f:1824329318481312146                                          1/2
2/17/25,Case
        1:27 PM2:24-cv-14336-JEM                    Document    42-5
                                                       Christopher        Entered
                                                                   F. Lanza, P.A. Mail -on
                                                                                        YourFLSD     Docket
                                                                                             "Meet and          02/22/2025
                                                                                                       Confer" letter of 2/12/25 Page 3 of 3
    If you have received this transmittal in error, please notify this firm immediately at (772) 206-3333 or by return e-mail. CIRCULAR 230 NOTICE: To comply with
    U.S. Treasury Department and IRS regulations, we are required to advise you that, unless expressly stated otherwise, any U.S. federal tax advice contained in
    this transmittal, is not intended or written to be used, and cannot be used, by any person for the purpose of (i) avoiding penalties under the U.S. Internal
    Revenue Code, or (ii) promoting, marketing or recommending to another party any transaction or matter addressed in this e-mail or attachment.




https://mail.google.com/mail/u/0/?ik=3a2dad4283&view=pt&search=all&permmsgid=msg-f:1824329318481312146&simpl=msg-f:1824329318481312146                               2/2
